Case 07-11047-CSS Doc 8524-1 Filed 01/29/10 Page 1of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x
In re: : Chapter 11
AMERICAN HOME MORTGAGE ; Case No. 07-11047 (CSS)
HOLDINGS, INC., a Delaware corporation, et al.,'
Jointly Administered
Debtors.
Objections Due: February 11, 2009 at 4:00 p.m. (ET)
x Hearing Date: February 18, 2010 at 11:00 a.m. (ET)
NOTICE OF MOTION

TO: (i) the US Trustee; (ii) counsel to the Committees; (iii) the Indenture Trustees; (iv)
counsel to the Buyer; (v) federal, state and local taxing authorities and relevant
governmental entities; (vi) Lehman Brothers Inc.; (vii) parties who have filed a
notice of appearance in the case; (viii) Bank of America; (ix) any parties who have
expressed an interest in purchasing the Broadhollow and Melville LLC interests (if
any); and (x) all parties known to the Debtors who have an interest in or rights to
the LLC Interests.

PLEASE TAKE NOTICE that the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) have filed the attached Debtors’ Motion For an Order
Pursuant to Bankruptcy Code Sections 105, 363 and 1146(a) and Bankruptcy Rules 2002,
6004, 9014 and 9019 Approving and Authorizing: (I)(A) the Sale, Assignment and Transfer
of Limited Liability Company Interest of Broadhollow Funding, LLC; and (B) the Sale,
Assignment and Transfer of Limited Liability Company Interest of Melville Funding,
LLC; (ID Settlement of Claims, Releases and Waivers; (III) Release of Certain Escrow
Funds; and (1V) Granting Related Relief (the “Motion’”).

PLEASE TAKE FURTHER NOTICE that objections to the attached Motion
must be filed with the United States Bankruptcy Court for the District of Delaware, 824 N.
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before 4:00 p.m. on February 11,
2010. At the same time, you must also serve a copy of the objection upon the undersigned
counsel.

' The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
American Home Mortgage Holdings, Inc. (6303); American Home Mortgage Investment Corp., a Maryland
corporation (3914); American Home Mortgage Acceptance, Inc., a Maryland corporation (1979); American Home
Mortgage Servicing, Inc., a Maryland corporation (7267); American Home Mortgage Corp., a New York
corporation (1558); American Home Mortgage Ventures LLC, a Delaware limited liability company (1407);
Homegate Settlement Services, Inc., a New York corporation (7491); and Great Oak Abstract Corp., a New York
corporation (8580). The address for all of the Debtors is 538 Broadhollow Road, Melville, New York 11747, except
for AHM Servicing, whose address is 4600 Regent Blvd., Suite 200, Irving, Texas 75063.

DB02:8837699.4 066585.1001
Case 07-11047-CSS Doc 8524-1 Filed 01/29/10 Page 2 of 2

PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THIS
MATTER WILL BE HELD ON FEBRUARY 18, 2009 AT 11:00 A.M. (ET) BEFORE THE
HONORABLE CHRISTOPHER S. SONTCHI IN THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET, 5TH FLOOR,
COURTROOM #6, WILMINGTON, DELAWARE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OF HEARING.

Dated: Wilmington, Delaware YOUNG CONAWAY STARGATT & TAYLOR, LLP

January 29, 2010

Sean M. Beach (No. 4070)

Kara Hammond Coyle (No. 4410)
The Brandywine Building

1000 West Street, 17th Floor
Wilmington, Delaware 19801
Telephone: (302) 571-6600
Facsimile: (302) 571-1253

Counsel for Debtors and Debtors-in-Possession

DB02:8837699,.4 2 066585.1001
